           Case 1:19-cv-22978-FAM Document 1-2 Entered on FLSD Docket 07/18/2019 Page 1 of 2
JS 44 (Rev. 06/17) FLSD Revised 06/01/2017                                     CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I.(a)     PLAINTIFFS             ANTONIO RODRIGUEZ                                                       DEFENDANTS                RANSOM EVERGLADES SCHOOL


  (b) County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed Defendant
                       ( EXCEPTIN U.S. PLAINTIFF CASES)                                                                       (  IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:                  IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (IfKnown)

   Peter Hoogerwoerd, Remer & Georges-Pierre PLLC,44 West Flagler                                        Ingrid Ponce, Stearns Weaver Miller, 150 W.Flagler Street, Suite
   Street, Suite 2200, Miami,FL 33130                                                                    2200, Miami, FL 33130
(d)Check County Where Action Arose:           91 MIAMI- DADE 0 MONROE 0 BROWARD 0 PALM BEACH 0 MARTIN 0 ST. LUCIE 0INDIAN RIVER 0 OKEECHOBEE 0 HIGHLANDS


II. BASIS OF JURISDICTION                        (Place an 'X" in One Box Only)             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X"in One Boxfor Plainte)
                                                                                                   ( For Diversity Cases Only)                            and One Boxfor Defendant)
 EI 1   U.S. Government                                  Federal Question                                                    PTF DEF                                      PTF DEF
                                    in 3
          Plaintiff                         (U.S. Government Not a Party)                       Citizen of This State        0I  01  Incorporated or Principal Place     0 4 04
                                                                                                                                     of Business In This State

 O 2 U.S. Government                 Ei 4                    Diversity                          Citizen of Another State    02       0 2      Incorporated and Principal Place   05       05
       Defendant                             (Indicate Citizenship ofParties in Item III)                                                        ofBusiness In Another State

                                                                                                Citizen or Subject ofa      03       0 3     Foreign Nation                      06       06
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                           Click here for: Nature of Suit Code Descriptions
          CONTRACT                                           TORTS                               FORFEITURE/PENALTY                      BANKRUPTCY                     OTHER STATUTES
0110 Insurance                          PERSONAL INJURY            PERSONAL INJURY 0625 Drug Related Seizure                     0422 Appeal 28 USC 158        O 375 False Claims Act
0120 Marine                         0310 Airplane               O 365 Personal Injury -               of Property 21 USC 881 0423 Withdrawal                   O 376 Qui Tam(31 USC
0130 Miller Act                     0315 Airplane Product              Product Liability     0690 Other                                   28 USC 157
0140 Negotiable Instrument                   Liability          O 367 Health Care/                                                                             O 400    3 State Reapportionment
0150 Recovery of Overpayment 0320 Assault, Libel &                     Pharmaceutical                                                 PROPERTY RIGHTS          O 410 Antitrust
      & Enforcement ofJudgment               Slander                   Personal Injury                                              820 Copyrights             O 430 Banks and Banking
0151 Medicare Act                   El 330 Federal Employers'          Product Liability                                             830 Patent                O 450 Commerce
                                                                                                                                     835 Patent- Abbreviated   O 460 Deportation
0152 Recovery of Defaulted                   Liability          El 368 Asbestos Personal                                             New Drug Application
      Student Loans                 0340 Marine                         Injury Product                                               840 Trademark             O 470 Racketeer Influenced and
     (Excl. Veterans)               0345 Marine Product                 Liability                           LABOR                      SOCIAL SECURITY                Corrupt Organizations
El 153 Recovery of Overpayment               Liability            PERSONAL PROPERTY 0 710 Fair Labor Standards                       861 I-11A(1395f0          O 480 Consumer Credit
      of Veteran's Benefits         0350 Motor Vehicle          O 370 Other Fraud                      Act                           862 Black Lung(923)       0 490 Cable/Sat TV
0160 Stockholders' Suits            0355 Motor Vehicle          O 371 Truth in Lending        0 720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g)) El 850 Securities/Commodities/
O 190 Other Contract                       Product Liability    O 380 Other Personal          0 740 Railway Labor Act                864 SSID Title XVI               Exchange
0195 Contract Product Liability 0360 Other Personal                    Property Damage        0 751 Family and Medical               865 RSI(405(g))           O 890 Other Statutory Actions
0196 Franchise                              Injury              El 385 Property Damage                Leave Act                                                O 891 Agricultural Acts
                                    0362 Personal Injury -             Product Liability      0 790 Other Labor Litigation                                     O 893 Environmental Matters
                                            Med. Malpractice                                  0 791 Empl. Ret. Inc.                                            O 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS          PRISONER PETITIONS                   Security Act                    FEDERAL TAX SUITS               Act
 ❑ 210 Land Condemnation            0440 Other Civil Rights        Habeas Corpus:                                                    870 Taxes(U.S. Plaintiff  0 896 Arbitration
 O 220 Foreclosure                  0441 Voting                 El 463 Alien Detainee                                                     or Defendant)        0 899 Administrative Procedure
                                                                   510 Motions to Vacate                                             871 IRS—Third Party 26           Act/Review or Appeal of
 O 230 Rent Lease & Ejectment       PEI 442 Employment          "Sentence                                                            USC 7609
                                    in 443 Housing/                   Other:                                                                                          Agency Decision
 O 240 Torts to Land               "Accommodations
                                                                                                                                                                     950 Constitutionality of State
 O 245 Tort Product Liability       0445 Amer. w/Disabilities - O  530 General                         IMMIGRATION         -                                   0      Statutes
 ❑ 290 All Other Real Property              Employment          O 535 Death Penalty           0 462 Naturalization Application
                                    0446 Amer. w/Disabilities - O 540 Mandamus & Other 0 465 Other Immigration
                                            Other               O 550 Civil Rights                    Actions
                                    0448 Education              O 555 Prison Condition
                                                                   560 Civil Detainee -
                                                                O Conditions of
                                                                   Confinement
V. ORIGIN                   (Place an "X" in  One  Box Only)
                                                                                                  from     0 6 Multidistrict El 7 Appeal to
 O 1 Original         Gt 2 Removed 0 3 Re-filed 0 4 Reinstated 0 5 Transferred       another district           Litigation                                08 FMilueltidistrict     Remanded from
        Proceeding           from State         (See VI         or                                              Transfer                  District Judge      Litigation "' Appellate Court
                             Court               below)         Reopened            ( specify)
                                                                                                                                          from Magistrate     - Direct
                                                                                                                                          Judgment

 VI. RELATED/                           (See instructions): a) Re-filed Case          DYES      46 NO             b) Related Cases     DYES 0 NO
                                                           JUDGE:                                                                       DOCKET NUMBER:
 RE-FILED CASE(S)
                                         Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not citejurisdictionalstatutes unless diversity):
 VII. CAUSE OF ACTION                   National origin discrimination, race discrimination and retaliation under Title VII,42 U.S.C. SectiOn-2000(e)
                                         LENGTH OF TRIAL via 3-5              days estimated (for both sides to try entire case)

 VIII. REQUESTED IN                        CHECK IF THIS IS A CLASS ACTION                         DEMANDS                                CHECK YES only if demanded in complaint:
        COMPLAINT:                       ❑ UNDER F.R.C.P. 23
                                                                                                                                        JURY DEMAND:                ,O Yes       0No

 ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
 DATE                                         SIGNATU   F ATTORNEY o                                               ORD
        July 18, 2019

 FOR OFFICE USE ONLY
                                     A MOUNT                   IFP                   JUDGE                                   MAG JUDGE
 RECEIPT
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JS 44 (Rev. 06/17) FLSD Revised 06/01/2017


                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                     Authority For Civil Cover Sheet
                                                                                                                                                               or other papers as
    The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading
           by  law,  except  as provided  by  local  rules  of  court.  This form,   approved    by  the  Judicial Conference    of the  United  States   in September 1974, is
required
                                                                                                                                                     submitted to the Clerk of
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is
Court for each    civil complaint filed. The  attorney   filing a case should  complete   the form   as follows:
                                                                                                                                                                      agency, use
I.      (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government
                                                     If  the plaintiff or defendant   is an  official within   a government   agency,   identify first the  agency   and  then the
only the full name or standard abbreviations.
official, giving both name and title.
                                                                                                                                                           plaintiff resides at the
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name ofthe county where the first listed
                    In  U.S. plaintiff cases, enter  the   name   of  the county  in  which   the  first listed  defendant  resides  at the time  of   filing.  (NOTE: In land
time of   filing.
condemnation cases, the county of residence of the "defendant" is the location           of the tract of land  involved.)
                                                                                                                                                               on an attachment,
        (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them
noting in this section "(see attachment)".
                                                                                                                                                                  Place an "X" in
  IL     Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings.
one ofthe boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
                                                                                                                                                              here.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included
United States   defendant.   (2) When   the plaintiff is suing  the United  States, its officers or agencies,   place an "X"  in this box.
                                                                                                                                                           an amendment to the
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States,
                an  act of Congress  or a treaty of the  United   States. In cases  where   the U.S.  is a party, the U.S. plaintiff or defendant   code   takes precedence, and
Constitution,
                                                                                                                                                             states. When Box 4
 box 1 or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different
                                                                                                                                                     over diversity cases.)
 is checked, the citizenship ofthe different parties must be checked. (See Section III below; federal question actions take precedence
                                                                                                                                               above. Mark this
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated
section for each principal party.
                                                                                                                                        the case, pick the nature
IV.     Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with
ofsuit code that is most applicable. Click here for: Nature of Suit Code Descriptions.
V.       Origin. Place an "X" in one ofthe seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
                                                                                                                         U.S.C., Section 1441. When the
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28
petition for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
                                                                                                                                 filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the
                                                                                                                              within district transfers or multidistrict
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for
litigation transfers.
                                                                                                                           Title 28 U.S.C. Section 1407. When this
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge's decision.
Remanded from Appellate Court.(8) Check this box if remanded from Appellate Court.
                                                                                                                         the docket numbers and the
VI. Related/Refiled Cases. This section ofthe JS 44 is used to reference related pending cases or re-filed cases. Insert
corresponding judges name for such cases.
                                                                                                                    of the cause. Do not cite jurisdictional
VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description
statutes unless diversity. Example: U.S. Civil  Statute: 47 USC 553
                           Brief Description: Unauthorized reception of cable service
                                                                                                             Rule 23, F.R.Cv.P.
VIII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under
                                                                                                        demand such as a preliminary injunction.
Demand. In this space enter the dollar amount(in thousands of dollars) being demanded or indicate other
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.


 Date and Attorney Signature. Date and sign the civil cover sheet.
